              Case 23-57344-bem                     Doc 1       Filed 08/01/23 Entered 08/01/23 08:30:57                                Desc
                                                               Petition Page 1 of 7
 Fill in this information to identify the case:                                        FILED Ili CLERK'S OFFICE
                                                                                       U.S.BAliKRUPTCY COURT
                                                                                          NORTHERli IV,-;TRICT
 United States Bankruptcy Court for the:                                                      OF

  1\104-Vle_o(rl            District of caeji-Yilt4
                                        ( tate) a
                                                                                      2023 AUG -1 All 8: 24
 Case number (If known):                                    Chapter
                                                                                              V/tn ' S. ALLEll                    lj   Check if this is an
                                                                                                    LER'A                              amended filing

                                                                                        BY:



Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                            06/22

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




 1. Debtor's name
                                                              Cd1                              LC
 2. All other names debtor used
    in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




 3. Debtor's federal Employer
    Identification Number (EIN)
                                                       _   5g t D(o _q_q

 4. Debtor's address                       Principal place of business                                   Mailing address, if different from principal place
                                                                                                         of business


                                           ('Sot Street
                                           Number
                                                                       NIX) 4'                0
                                                                                                         Number      Street


                                                                                                         P.O. Box

                                                                                     ityrfa)
                                           City                             (State     ZIP Code          City                          State       ZIP Code

                                                                                                         Location of principal assets, if different from
                                                                                                         principal place of business
                                            ci) 11)01
                                           County
                                                                                                         Number      Street




                                                                                                         City                          State       ZIP Code




 5. Debtor's website (URL)




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                                                          Petition Page 2 of 7
Debtor                                                                                      Case number Of known)
             Name




                                             Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
 6. Type of debtor
                                         •   Partnership (excluding LLP)
                                         0 Other. Specify:

                                         A. Check one:
 7. Describe debtor's business
                                         O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         0 Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         O Railroad (as defined in 11 U.S.C. § 101(44))
                                         0 Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         0 Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         0 Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                         aFgone of the above


                                         B. Check a// that apply:

                                         0 Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                           § 80a-3)
                                         O Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))


                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.govffour-diqit-national-association-naics-codes .



 8. Under which chapter of the           Check one:
    Bankruptcy Code is the
    debtor filing?                       WI-Chapter 7
                                         O Chapter 9
                                         O Chapter 11. Check all that apply:
     A debtor who is a "small business
     debtor" must check the first sub-                    111--9he debtor is a small business debtor as defined in 11 U.S.C. § 101(510), and its
     box. A debtor as defined in                              aggregate noncontingent liquidated debts (excluding debts owed to insiders or
     § 1182(1) who elects to proceed                          affiliates) are less than $3,024,725. If this sub-box is selected, attach the most
     under subchapter V of chapter 11                         recent balance sheet, statement of operations, cash-flow statement, and federal
     (whether or not the debtor is a                          income tax return or if any of these documents do not exist, follow the procedure in
     "small business debtor") must                            11 U.S.C. § 1116(1)(B).
     check the second sub-box.                            IlKhe debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
                                                             noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                             less than $7,500,000, and it chooses to proceed under Subchapter V of
                                                             Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
                                                             statement of operations, cash-flow statement, and federal income tax return, or if
                                                             any of these documents do not exist, follow the procedure in 11 U.S.C.
                                                             § 1116(1)(B).

                                                          O A plan is being filed with this petition.

                                                          U Acceptances of the plan were solicited prepetition from one or more classes of
                                                            creditors, in accordance with 11 U.S.C. § 1126(b).

                                                          O The debtor is required to file periodic reports (for example, 10K and 100) with the
                                                            Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                            Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                            for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                          O The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                            12b-2.
                                         CI Chapter 12




 Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                              page 2
              Case 23-57344-bem               Doc 1          Filed 08/01/23 Entered 08/01/23 08:30:57                                        Desc
                                                            Petition Page 3 of 7
Debtor                                                                                       Case number (if known)
              Name



 9. Were prior bankruptcy cases        Err]
    filed by or against the debtor
    within the last 8 years?           0 Yes. District                                When                            Case number
                                                                                              MM/ DD / YYYY
     If more than 2 cases, attach a
     separate list.                              District                            When                             Case number
                                                                                              MM / DD / YYYY

     Are any bankruptcy cases          LiKo
     pending or being filed by a
     business partner or an            0 Yes. Debtor                                                                  Relationship
     affiliate of the debtor?                    District                                                             When
     List all cases. If more than 1,                                                                                                 MM / DD          /YYYY
     attach a separate list.                     Case number, if known


 11.Why is the case filed in this      Check all that apply:
     district?
                                       la1S-ebtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                          district.

                                       0 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12.Does the debtor own or have Li No
    possession of any real        141es. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property or personal property
    that needs immediate                 Why does the property need immediate attention? (Check all that apply.)
    attention?
                                                0 It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?

                                                    It needs to be physically secured or protected from the weather.

                                                    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                    attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                    assets or other options).

                                                trOther



                                                Where is the property?        3qT) Lue...SV LcLIK.e.                            Um,-1
                                                                                                                                    --
                                                                           Number            Street


                                                                                                                                                  b31c5
                                                                            ity                                                      S   e ZIP Code


                                               Is the property insured?

                                                0 No
                                                Erres. Insurance agency

                                                            Contact name

                                                            Phone




11.11        Statistical and administrative information




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Debtor                                                                                         Case number it known)
            Name




 13.Debtor's estimation of               Check one:
    available funds                      O Funds will be available for distribution to unsecured creditors.
                                         1W -ter any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                         lZ1r-49                            0 1,000-5,000                                0 25,001-50,000
 14.Estimated number of
                                         O 50-99                            U 5,001-10,000                               0 50,001-100,000
    creditors
                                         O 100-199                          0 10,001-25,000                              0 More than 100,000
                                         O 200-999

                                         • $0-$50,000                       •   $1,000,001-$10 million                   • $500,000,001-$1 billion
 15.Estimated assets
                                         • $50,001-$100,000                 •   $10,000,001-$50 million                  • $1,000,000,001-$10 billion
                                         • $100,001-$500,000                •   $50,000,001-$100 million                 • $10,000,000,001-$50 billion
                                         a1 -.
                                            500,001-$1 million              •   $100,000,001-$500 million                O More than $50 billion


                                         • $0-$50,000                       •   $1,000,001-$10 million                   • $500,000,001-$1 billion
 16.Estimated liabilities
                                         • $50,001-$100,000                 •   $10,000,001-$50 million                  • $1,000,000,001-$10 billion
                                         • $100,001-$500,000                •   $50,000,001-$100 million                 • $10,000,000,001-$50 billion
                                         alS00,001-$1 million               •   $100,000,001-$500 million                O More than $50 billion



            Request for Relief, Declaration, and Signatures


 WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
            $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


 17. Declaration and signature of            The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
     authorized representative of
                                             petition.
     debtor

                                             I have been authorized to file this petition on behalf of the debtor.

                                             I have examined the information in this petition and have a reasonable belief that the information is true and
                                             correct.


                                         I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on
                                                          MM / DD /YYYY



                                            Signature of authorized representative of debtor              Printed name

                                            Title




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Debtor                                                                         Case number or known)
             Nan,




 18. Signature of attorney
                                                                                          Date
                                 Signature of attorney for debtor                                       MM      / DD / YYYY




                                 Printed name


                                 Firm name


                                 Number         Street


                                 City                                                           State            ZIP Code



                                 Contact phone                                                  Email address




                                 Bar number                                                     State




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                            Petition Page 6 of 7



                      DAT CONTRACTING LLC
                                MATRIX


1. Church Hill Real Estate
   1415 Vantage Park Drive #240
   Charlotte, NC. 28203

2. SkyBeam Capital Lender
   3225 Cumberland Blvd SE Ste 100
   Atlanta, Georgia 30339

3. House Max-
   901 S MoPac Expy
   Bid 4 Suite 125
   Austin Tx 78746
               Case 23-57344-bem                Doc 1        Filed 08/01/23 Entered 08/01/23 08:30:57                               Desc
                                                            Petition Page 7 of 7
 Case Number: 23-57344                          Name: DAT Contracting                               Chapter: 7 Division: Atlanta

Please submit the following original documents to the Court for filing so that the case will proceed timely. Failure to comply may
result in the dismissal of your case.

If filing bankruptcy without an attorney, please read the information regarding Filing Bankruptcy without an Attorney at:
www.uscourts.gov/services-forms/bankruptcy/filing-without-attorney.

El Individual - Series 100 Forms                                                         El Non-Individual - Series 200 Forms
Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov.

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                     Petition Deficiencies:
 1=1 Complete List of Creditors (names and addresses of all creditors)                   0 Last 4 digits of SSN
 O Pro Se Affidavit (signature must be notarized,                                        0 Address
 or witnessed by a Court Intake Clerk, accompanied by a picture I.D.)                    O Statistical Estimates
 O Signed Statement of SSN                                                               O Other:

MISSING DOCUMENTS DUE WITHIN 14 DAYS
El Statement of Financial Affairs                                                                           Case filed via:
El Schedules: A/B D E/ F G H                                                       CE1 Intake Counter by:
El Summary of Assets and Liabilities                                                     El Attorney
El Declaration About Debtor(s) Schedules                                                 El Debtor
O Attorney Disclosure of Compensation                                                    El Other: Necole Shawnta Thomas 615-275-8221
O Petition Preparer's Notice, Declaration and Signature (Form 119)                 O Mailed by:
El Disclosure of Compensation of Petition Preparer (Form 2800)                        O Attorney
O Chapter 13 Current Monthly Income                                                   O Debtor
O Chapter 7 Current Monthly Income                                                    O Other:
O Chapter 11 Current Monthly Income
O Certificate of Credit Counseling (Individuals only)                              O Email [Pursuant to General Order 45-2021, this petition
O Pay Advices (Individuals only) (2 Months)                                        was received for filing via email]
O Chapter 13 Plan, complete with signatures (local form)
El Corporate Resolution (Non-Individual Ch. 7 & 11)                                              History of Case Association
                                                                                   Prior cases within 2 years:
MISSING DOCUMENTS DUE WITHIN 30 DAYS
1=1 Statement of Intent — Ch.7 (Individuals only)
                                                                                   Signature:
Ch.11 Business                                                                     Acknowledgment of receipt of Deficiency Notice
LI 20 Largest Unsecured Creditors
O List of Equity Security Holders
O Small Business - Balance Sheet                                                    Intake Clerk       Sky)          ID Verified?f Date:8/1/23
O Small Business - Statement of Operations
O Small Business - Cash Flow Statement
1=1 Small Business - Federal Tax Returns

FILING FEE INFORMATION
Online Payment for Filing Fee https://www.ganb.uscourts.gov/online-payments (not for chapter 13 plan payments)
      O Paid $
       O Pending Pay.Gov, Paid $
       LI IFP filed (Ch.7 Individuals Only)
       LI 2g-Order Granting D 3g-Order Granting 10-day (initial payment of $                              due within 10 days)
       LI 2d-Order Denying with filing fee of $                 due within 10 days
       ▪   No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.
                               You may mail documents and filing fee payments (no personal checks or cash accepted) to the address below.
                          All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                                    UNITED STATES BANKRUPTCY COURT
                                                      75 Ted Turner Drive, SW, Room 1340
                                                             Atlanta, Georgia 30303
                                                                 404-215-1000
